AO 72A

 

 

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|N THE UN|TED STATES D|STR|CT COURT
FOR THE NORTHERN D|STR|CT OF GEORG|A
RO|VIE D|V|S|ON

JOSE VELASQUEZ, et a|.,
P|aintiffs,
v. C|V|L ACT|ON F|LE '
NO. 4:10-CV-0022-HL|V|

SOUTHERN GROUP, LLC,
et a|.,

Defendants.
ORDER

 

This case is before the Court on the Court’s i\/|ay 21 , 201 O,
Order, and on the Joint |\/|otion to Dismiss Farm Credit Services
With Prejudice [45].

On l\/Iay 21, 2010, P|aintiffs and Defendant Farm Credit
Services of |V|id-America, FLCA (“Defendant Farm Credit
Services”) filed a Joint l\/|otion to Dismiss Farm Credit Services
With Prejudice. (Docket Entry No. 45.) On |Vlay 21, 2010, the

Court entered an Order directing the remaining parties to file

 

 

 

 

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their objections, ifany, to the proposed dismissal of Defendant
Farm Credit Services Within fourteen days after l\/lay 21 , 201 O.
As of the date of this Order, the C|erk’s docket indicates that no
party has filed objections to the proposed dismissal of
Defendant Farm Credit Services. The Court therefore finds
that it is appropriate to grant the Joint l\/lotion to Dismiss, and
dismisses Defendant Farm Credit Services from this action With
prejudice.

ACCORD|NGLY, the Court GRANTS the Joint l\/lotion to
Dismiss Farm Credit Services With Prejudice [45], D|SM|SSES
W|TH PREJUD|CE all claims asserted by Plaintiffs in their
Complaint against Defendant Farm Credit Services of l\/|id-
America, FLCA, and D|SM|SSES Defendant Farm Credit
Services of l\/lid-America, FLCA, as a party to this action. This
Order is a final and appealable Order as to the dismissal of

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claims against Defendant Farm Credit Services of l\/lid-
America, FLCA, but shall not affect Plaintiffs’ claims asserted
against the remaining Defendants, Which remain pending.

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lT is so oRDEREo, this the :l day of June, 2010.

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